
46 So.3d 1218 (2010)
J.Z., a Child, Appellant,
v.
STATE of Florida, Appellee.
No. 4D09-1160.
District Court of Appeal of Florida, Fourth District.
November 10, 2010.
Carey Haughwout, Public Defender, and Patrick B. Burke, Assistant Public Defender, West Palm Beach, for appellant.
Bill McCollum, Attorney General, Tallahassee, and Mitchell A. Egber, Assistant Attorney General, West Palm Beach, for appellee.
PER CURIAM.
A juvenile appeals the finding of guilt on a domestic violence battery charge, the withholding of adjudication and placement on probation, and the award of costs. He argues that the trial court erred in denying his motions for judgment of dismissal and in awarding court costs when adjudication was withheld. We affirm the finding of guilt, and the withholding of adjudication and placement on probation, but reverse the award of costs.
As the State acknowledges, section 775.083(2), Florida Statutes (2008), provides for the assessment of court costs when a juvenile is adjudicated delinquent. Here, the trial court withheld adjudication of delinquency. The award of court costs must therefore be reversed. J.C. v. State, 32 So.3d 196 (Fla. 4th DCA 2010).
Affirmed in part and Reversed in part.
MAY, DAMOORGIAN and GERBER, JJ., concur.
